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                              UNITED STATES OF AMERICA
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff(s),

v.                                                           Case No. 2:05-cr-56-02

KENTRELL LAVAN O’DANIELS,                                    HON. R. ALLAN EDGAR

               Defendant(s).
                                       /

                                    ORDER OF DETENTION

               Defendant Kentrell O’Daniels appeared before the undersigned on November 15,

2005, for purposes of a detention hearing. At that time, defendant Kentrell O’Daniels advised

the court that he did not oppose the government’s motion for detention and waived his right to a

detention hearing. Therefore, the government’s motion for detention (docket #6) is granted and

defendant Kentrell O’Daniels will be detained pending further proceedings.

               Therefore, IT IS HEREBY ORDERED that the defendant shall be committed to

the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal. The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the government, the person in charge of the corrections

facility shall deliver the defendant to the United States Marshal for the purpose of an appearance

in connection with a court proceeding.

               IT IS SO ORDERED.

                                              /s/ Timothy P. Greeley
                                              TIMOTHY P. GREELEY
                                              UNITED STATES MAGISTRATE JUDGE
Dated: November 15, 2005
